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                  EXHIBIT E
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                                                                                                       US00708033 OB1


(12) United States Patent                                                           (10) Patent No.:                 US 7,080,330 B1
       Choo et al.                                                                  (45) Date of Patent:                        Jul.18, 2006

(54) CONCURRENT MEASUREMENT OF                                                        6,650,424 B1 * 1 1/2003 Brill et al. .................. 356,601
        CRITICAL DIMIENSION AND OVERLAY IN                                     2002/0018217 A1           2/2002 Weber-Grabau et al. .... 356,601
        SEMCONDUCTOR MANUFACTURING                                             2002/0158193 A1* 10/2002 Sezginer et al. ........ 250,237 G
(75) Inventors: Bryan Choo, Mountain View, CA (US);                                                 OTHER PUBLICATIONS
               Bharath Rangarajan, Santa Clara, CA                            Kynett et al..." A in-system reprogrammable 32 Kx8 CMOS
               (US); Bhanwar Singh, Morgan Hill,                              Flash Memory”, Oct. 1988, IEEE Jpurnal of Solid-State
               CA (US); Carmen Morales, San Jose,                             Circuits, vol. 23, iss. 5, pp. 1157-1163.*
               CA (US)                                                        * cited by examiner
(73) Assignee: Advanced Micro Devices, Inc.,                                  Primary Examiner Sun James Lin
               Sunnyvale, CA (US)                                             (74) Attorney, Agent, or Firm—Amin & Turocy, LLP
(*) Notice:        Subject to any disclaimer, the term of this                (57)                        ABSTRACT
                   patent is extended or adjusted under 35
                   U.S.C. 154(b) by 433 days.
                                                                              A SV Stem and methodology are disclosed for monitoring and
(21) Appl. No.: 10/379,738                                                      Ring a E. fabrication process. O. O
(22) Filed:        Mar. 5, 2003                                               more structures formed on a wafer matriculating through the
                                                                              process facilitate concurrent measurement of critical dimen
(51) Int. Cl.                                                                 sions and overlay via scatterometry or a scanning electron
        G06F 7/50             (2006.01)                                       microscope (SEM). The concurrent measurements mitigate
(52) U.S. Cl. ............................... 71614, 71619, 71621             fabrication inefliciencies, thereby reducing time and real
(58) Field of Classification Search              s              s 71.6/4      estate required for the fabrication process. The measure
                                           - - - - - - - - - -716/19 2O 2     ments can be utilized to generate feedback and/or feed
        See application file for complete search history s                    forward data to selectively control one or more fabrication
                                                                              components and/or operating parameters associated there
(56)                   References Cited                                       with to achieve desired critical dimensions and to mitigate
                                                                              overlay error.
                U.S. PATENT DOCUMENTS
       5,042,009 A *    8, 1991 KaZerounian et al. . 365,185.18                                   25 Claims, 18 Drawing Sheets

                                                     STAR
                                                                              A1 1400

                                                                                402
                                          GNERAINITIAIZATIONS

                                                                               1404
                                           GENERATEGRID MAP

                                         FORMSTRUCTUREAT GRD                / 1406
                                           MAPPELOCATIONS


                                      MEASURE CRITICAL DIMENSIONS
                                      AND OVERLAY CONCURRENTLY


                                             ALL GRD BLOCKS
                                               MeASURED

                                                            YES

                                       COMPAREMEASUREMENTSTO                  142
                                          ACCEPTABLEVALUES

                                                                                                         420

                                                                               ADJUSPRFED FORWARD
                                                            O
                                                                                              y        1422
                                           PROCEEASNORMA                            ADJUST PERFEEDBACK
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                     ,\!E_LWOHS   WELSÅ
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                                                     1400
                 START                       A?
                                               1402
      GENERAL INITIALIZATIONS

                                               1404
        GENERATE GRID MAP

                                              1406
      FORMSTRUCTURE AT GRID
        MAPPED LOCATIONS


    MEASURE CRITICAL DIMENSIONS
    AND OVERLAY CONCURRENTLY
                                   1410

             ALL GRD BLOCKS
               MEASURED7

                      YES

    COMPARE MEASUREMENTS TO
       ACCEPTABLE VALUES                     1412

                                                                    1420
                               YES
                                                ADJUST PERFEED FORWARD

                                                                  1422

        PROCEED AS NORMAL


      1418
                                                             Fig. 14
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                                                   MICROPROCESSOR



           SURFACE         SPECULARLY
           NORMAL
                                 EED
                            REFLECTED
                                             Fig. 15
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                                 N        N            N
                                o        o            c

                     s          ve       v            V
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                              Measured Tan Psi signal
                                                    -




         0.7

         O.6 -
Tanps



         0.4 -

         0.3 -




         0.1                                 500          600     7OO             800
                                      Wavelength (nm)

                               Measured and Fitted COSDel
                                               I            -       I    lis-e-




           0.8 -



           0.4 -

   COSDel 0.2




                                                                  Measured


                      300       400           500           600    700            800
                                       Wavelength (nm)




                                   Fig. 21
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                              1.                                                                      2
      CONCURRENT MEASUREMENT OF                                        etry or a scanning electron microscope (SEM). The concur
    CRITICAL DIMIENSION AND OVERLAY IN                                 rent measurements mitigate fabrication inefficiencies as two
     SEMCONDUCTOR MANUFACTURING                                        operations are combined into one. The combined measure
                                                                       ments facilitate a reduction in, among other things, time and
                   TECHNICAL FIELD                                     real estate required for the fabrication process. The mea
                                                                       Surements can be utilized to generate control data that can be
   The present invention generally relates to monitoring               fed forward and/or backward to selectively adjust one or
and/or controlling a semiconductor fabrication process, and            more fabrication components and/or operating parameters
in particular to a system and methodology for concurrently             associated therewith to bring critical dimensions within
measuring critical dimensions and overlay during the fab          10
                                                                       acceptable tolerances and to mitigate overlay errors.
rication process and controlling operating parameters to                  To the accomplishment of the foregoing and related ends,
refine the process in response to the measurements.                    certain illustrative aspects of the invention are described
                      BACKGROUND                                       herein in connection with the following description and the
                                                                  15
                                                                       annexed drawings. These aspects are indicative, however, of
  In the semiconductor industry, there is a continuing trend           but a few of the various ways in which one or more of the
toward higher device densities. To achieve these high den              principles of the invention may be employed and the present
sities, there has been and continues to be efforts toward              invention is intended to include all Such aspects and their
Scaling down device dimensions (e.g., at Submicron levels)             equivalents. Other advantages and novel features of the
on semiconductor wafers. In order to accomplish Such high              invention will become apparent from the following detailed
device packing density, Smaller and Smaller feature sizes are          description of the invention when considered in conjunction
required in integrated circuits (ICs) fabricated on Small              with the drawings.
rectangular portions of the wafer, commonly known as dies.                   BRIEF DESCRIPTION OF THE DRAWINGS
This may include the width and spacing of interconnecting
lines, spacing and diameter of contact holes, the Surface         25
geometry Such as corners and edges of various features as                FIG. 1 is a block diagram Schematically illustrating at a
well as the surface geometry of other features. To scale down          high level a system for monitoring and controlling a semi
device dimensions, more precise control of fabrication pro             conductor fabrication process in accordance with one or
cesses are required. The dimensions of and between features            more aspects of the present invention.
can be referred to as critical dimensions (CDs). Reducing         30     FIG. 2 is a cross sectional side view of a structure in
CDs, and reproducing more accurate CDS facilitates achiev              accordance with one or more aspects of the present inven
ing higher device densities through scaled down device                 tion that facilitates concurrent measurement of critical
dimensions and increased packing densities.                            dimensions and overlay with scatterometry.
   The process of manufacturing semiconductors or ICs                     FIG. 3 is a top view of a structure, such as that depicted
typically includes numerous steps (e.g., exposing, baking,        35   in FIG. 2, that can be utilized to concurrently measure
developing), during which hundreds of copies of an inte                critical dimensions and overlay with scatterometry.
grated circuit may be formed on a single wafer, and more                 FIG. 4 is a cross sectional side view of a structure in
particularly on each die of a wafer. In many of these steps,           accordance with one or more aspects of the present inven
material is overlayed or removed from existing layers at               tion that facilitates concurrent measurement of critical
specific locations to form desired elements of the integrated     40
                                                                       dimensions and overlay with a scanning electron microscope
circuit. Generally, the manufacturing process involves cre             (SEM).
ating several patterned layers on and into a Substrate that
ultimately forms the complete integrated circuit. This lay                FIG. 5 is a top view of a structure, such as that depicted
ering process creates electrically active regions in and on the        in FIG. 4, that can be utilized to concurrently measure
semiconductor wafer Surface. The layer to layer alignment         45   critical dimensions and overlay with SEM.
and isolation of Such electrically active regions depends, at             FIG. 6 is a cross sectional side view of an alternative
least in part, on the precision with which features can be             structure that facilitates concurrent measurement of critical
placed on a wafer. If the layers are not aligned within                dimensions and overlay with SEM.
acceptable tolerances, overlay errors can occur compromis                 FIG. 7 illustrates a portion of a system for monitoring a
ing the performance of the electrically active regions and        50   semiconductor fabrication process with scatterometry
adversely affecting chip reliability.                                  according to one or more aspects of the present invention.
                                                                          FIG. 8 illustrates a system for monitoring and controlling
            SUMMARY OF THE INVENTION                                   a semiconductor fabrication process according to one or
                                                                       more aspects of the present invention.
   The following presents a simplified summary of the             55
                                                                          FIG. 9 illustrates a portion of a system for monitoring a
invention in order to provide a basic understanding of some            semiconductor fabrication process with SEM according to
aspects of the invention. This Summary is not an extensive             one or more aspects of the present invention.
overview of the invention. It is intended to neither identify
key or critical elements of the invention nor delineate the               FIG. 10 illustrates another system for monitoring and
Scope of the invention. Its purpose is merely to present some     60   controlling a semiconductor fabrication process according to
concepts of the invention in a simplified form as a prelude            one or more aspects of the present invention.
to the more detailed description that is presented later.                 FIG. 11 illustrates a perspective view of a grid mapped
   According to one or more aspects of the present invention,          wafer according to one or more aspects of the present
one or more structures formed on a wafer matriculating                 invention.
through a semiconductor fabrication process facilitate con        65     FIG. 12 illustrates plots of measurements taken at grid
current measurement of overlay and one or more critical                mapped locations on a wafer in accordance with one or more
dimensions in the fabrication process with either scatterom            aspects of the present invention.
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                                3                                                                 4
   FIG. 13 illustrates a table containing entries correspond         FIG. 1 illustrates a system 100 for monitoring and con
ing to measurements taken at respective at grid mapped trolling an integrated circuit (IC) fabrication process accord
locations on a wafer in accordance with one or more aspects ing to one or more aspects of the present invention. The
of the present invention.                                         system 100 includes a control system 102, fabrication com
   FIG. 14 is flow diagram illustrating a methodology for 5 ponents 104 of the process, a measurement system 106 and
monitoring and controlling an IC fabrication process accord a wafer 108 undergoing the fabrication process. The wafer
ing to one or more aspects of the present invention.              108 has one or more structures 110 formed therein according
   FIG. 15 illustrates an exemplary scatterometry system to one or more aspects of the present invention. The control
suitable for implementation with one or more aspects of the system 102 is operatively coupled to the measurement
present invention.                                             10 system 106 and the fabrication components 104 and selec
   FIG. 16 is a simplified perspective view of an incident tively controls of the fabrication components 104 and/or one
light reflecting off a surface in accordance with one or more or more operating parameters associated therewith (e.g., via
aspects of the present invention.                                 feed forward and/or feedback) based upon readings taken by
   FIG. 17 is another simplified perspective view of an 15 the measurement system 106. The measurement system 106
incident light reflecting off a Surface in accordance with one includes either a scatterometry system or a scanning electron
or more aspects of the present invention.                         microscope (SEM) system (not shown) which interacts with
   FIG. 18 illustrates a complex reflected and refracted light    the  structure 110 to concurrently measure critical dimen
produced when an incident light is directed onto a surface in sions and overlay. These concurrent measurements can be
accordance with one or more aspects of the present inven utilized           to monitor and control the fabrication process while
                                                                  mitigating the amount of test equipment, real estate and time
tion.
   FIG. 19 illustrates another complex reflected and required     in
                                                                             for the fabrication process. The measurements can,
                                                                      particular,  be utilized for generating feedback and/or
refracted light produced when an incident light is directed feed-forward data
onto a Surface in accordance with one or more aspects of the critical dimensions for         mitigating overlay and/or bringing
                                                                                         within acceptable tolerances.
present invention.                                             25    It is to be appreciated that any of a variety of fabrication
   FIG. 20 illustrates yet another complex reflected and components and/or operating parameters associated there
refracted light produced when an incident light is directed with can be selectively controlled based upon the readings
onto a Surface in accordance with one or more aspects of the taken by the measurement system 106. By way of example
present invention.                                                and not limitation, this can include, but is not limited to,
   FIG. 21 illustrates phase and/or intensity signals recorded so temperatures associated with the process, pressures associ
from a complex reflected and refracted light produced when ated with the process, concentration of gases and chemicals
an incident light is directed onto a surface in accordance within the process, composition of gases, chemicals and/or
with one or more aspects of the present invention.                other ingredients within the process, flow rates of gases,
             DETAILED DESCRIPTION OF THE
                                                                  chemicals and/or other ingredients within the process, tim
                                                               35 ing parameters associated with the process and excitation
                          INVENTION                               voltages associated with the process. By way of further
                                                                  example, parameters associated with high-resolution photo
   The present invention is now described with reference to lithographic components utilized to develop ICs with small
the drawings, wherein like reference numerals are used to closely spaced apart features can be controlled to mitigate
refer to like elements throughout. In the following descrip- 40 overlay errors and achieve desired critical dimensions. In
tion, for purposes of explanation, numerous specific details general, lithography refers to processes for pattern transfer
are set forth in order to provide a thorough understanding of between various media and in semiconductor fabrication, a
the present invention. It may be evident, however, to one silicon slice, the wafer, is coated uniformly with a radiation
skilled in the art that one or more aspects of the present sensitive film, the photoresist. The photoresist coated sub
invention may be practiced with a lesser degree of these 4s strate is baked to evaporate any solvent in the photoresist
specific details. In other instances, well-known structures composition and to fix the photoresist coating onto the
and devices are shown in block diagram form in order to Substrate. An exposing source (such as light, X-rays, or an
facilitate describing one or more aspects of the present electron beam) illuminates selected areas of the surface of
invention.                                                        the film through an intervening master template for a par
   The term “component as used herein includes computer- 50 ticular pattern. The lithographic coating is generally a radia
related entities, either hardware, a combination of hardware      tion-sensitized coating Suitable for receiving a projected
and software, software, or software in execution. For             image of the Subject pattern. Once the image from the
example, a component may be a process running on a intervening master template is projected onto the photore
processor, a processor, an object, an executable, a thread of sist, it is indelibly formed therein.
execution, a program and a computer. By way of illustration, 55 Light projected onto the photoresist layer during photo
both an application running on a server and the server can be lithography changes properties (e.g., Solubility) of the layer
components. By way of further illustration, both a stepper such that different portions thereof (e.g., the illuminated or
and a process controlling the stepper can be components.          un-illuminated portions, depending upon the photoresist
   It is to be appreciated that various aspects of the present type) can be manipulated in Subsequent processing steps.
invention may employ technologies associated with facili- 60 For example, regions of a negative photoresist become
tating unconstrained optimization and/or minimization of insoluble when illuminated by an exposure source such that
error costs. Thus, non-linear training systems/methodologies the application of a solvent to the photoresist during a
(e.g., back propagation, Bayesian, fuzzy sets, non-linear Subsequent development stage removes only non-illumi
regression, or other neural networking paradigms including nated regions of the photoresist. The pattern formed in the
mixture of experts, cerebella model arithmetic computer 65 negative photoresist layer is, thus, the negative of the pattern
(CMACS), radial basis functions, directed search networks defined by opaque regions of the template. By contrast, in a
and function link networks) may be employed.                      positive photoresist, illuminated regions of the photoresist
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become soluble and are removed via application of a solvent             etching stage wherein an etchant, as well as other ingredi
during development. Thus, the pattern formed in the positive            ents, are applied to the surface of the wafer by an excitation
photoresist is a positive image of opaque regions on the                Voltage or otherwise. The etchant removes or etches away
template. Controlling the degree to which a photoresist is              portions of the wafer exposing during the development
exposed to illumination (e.g., time, intensity) can thus affect         process. Portions of the wafer under less soluble areas of the
the fidelity of pattern transfer and resulting critical dimen           photoresist are protected from the etchants. The less soluable
sions and overlay. For example, overexposure can create                 portions of the photoresist are those portions that are not
features that are too thin, resulting in spaces which are larger        affected by the developer during the development process
than desired, while underexposure can create features that              and that are not affected by the etchant during the etching
are too wide, resulting in spaces which are Smaller than           10   process. These insoluble portions of the photoresist are
desired.                                                                removed in Subsequent processing stage(s) to completely
  The type of illumination utilized to transfer the image               reveal the wafer and the pattern(s) formed therein. The
onto a wafer can also be controlled to affect critical dimen            concentration of materials utilized in etching can thus be
sions. For instance, as feature sizes are driven Smaller and            controlled to achieve desired critical dimensions and to
Smaller, limits are approached due to the wavelengths of the       15   mitigate overlay for instance by affecting the accuracy with
optical radiation. As such, that type of radiation and thus the         which selected portions of the wafer are etched away.
wavelengths of radiation utilized for pattern transfers can be             Parameters relating to the type of template utilized to
controlled to adjust critical dimensions and mitigate overlay.          transfer an image onto a wafer can also be controlled to
For instance, radiation having more conducive wavelengths               affect critical dimensions, layer to layer alignment and
(e.g., extreme ultraviolet (EUV) and deep ultraviolet (DUV)             overlay. Where the template is a reticle, the pattern is
radiation having wavelengths within the range of 5-200 nm)              transferred to only one (or a few) die per exposure, as
can be utilized for lithographic imaging in an effort to                opposed to where the template is a mask and all (or most) die
accurately achieve Smaller feature sizes. However, Such                 on the wafer are exposed at once. Multiple exposures
radiation can be highly absorbed by the photoresist material.           through a reticle are often performed in a step and Scan
Consequently, the penetration depth of the radiation into the      25   fashion. After each exposure, a stage to which the wafer is
photoresist can be limited. The limited penetration depth               mounted is moved or stepped to align the next die for
requires use of ultra-thin photoresists so that the radiation           exposure through the reticle and the process is repeated. This
can penetrate the entire depth of the photoresist in order to           process may need to be performed as many times as there are
effect patterning thereof. The performance of circuits formed           die in the wafer. Thus, stepper movement can be controlled
through photolithographic processing is, thus, also affected       30   to mitigate overlay error (e.g., by feeding fed forward and/or
by the thickness of photoresist layers. The thickness of                backward measurements to a stepper motor). The pattern
photoresist layers can be reduced through chemical                      formed within the reticle is often an enlargement of the
mechanical polishing (CMP). In general, CMP employs                     pattern to be transferred onto the wafer. This allows more
planarization techniques wherein a Surface is processed by a            detailed features to be designed within the reticle. Energy
polishing pad in the presence of an abrasive or non-abrasive       35   from light passed through the reticle can, however, heat the
liquid slurry. The slurry employed reacts with the photoresist          reticle when the image is exposed onto the wafer. This can
at the surface/subsurface range. Preferably the degree of               cause mechanical distortions in the reticle due to thermal
reaction is not great enough to cause rapid or measurable               expansion and/or contraction of the reticle. Such distortions
dissolution (e.g., chemical etching) of the photoresist, but            may alter the geometry of intricate features (e.g., by nar
merely sufficient to cause a minor modification of chemical        40   rowing a line) and/or interfere with layer to layer registration
bonding in the photoresist adequate to facilitate Surface layer         to Such a degree that a resulting circuit does not operate as
removal by applied mechanical stress (e.g., via use of a CMP            planned when the image is transferred onto the wafer.
polishing pad). Thus, critical dimensions and overlay can be            Moreover, since the pattern is usually an enlargement of the
affected by controlling the concentration, rate of flow and             pattern to be transferred onto the wafer, it typically has to be
degree of abrasiveness of slurry applied during the CMP            45   reduced (e.g., via a de-magnifying lens system) during the
process as well as the amount of pressure applied between               lithographic process. Shrinking an already distorted feature
the polishing pad and water during the process.                         (e.g., a narrowed line) can have a deleterious effect on
   Depending upon the resist system utilized, post exposure             critical dimensions. Thus, while Such a template may be
baking may also be employed to activate chemical reactions              effective to transfer more intricate pattern designs, it calls for
in the photoresist to affect image transfer. The temperatures      50   highly accurate alignment and imaging to mitigate overlay
and/or times that portions of the wafer are exposed to                  errors and maintain critical dimensions to within acceptable
particular temperatures can be controlled to regulate the               tolerances. Temperature controls can thus be employed to
uniformity of photoresist hardening (e.g., by reducing stand            mitigate thermally induced mechanical distortions in the
ing wave effects and/or to thermally catalyze chemical                  reticle.
reactions that amplify the image). Higher temperatures can         55      Additionally, parameters relating to film growth or depo
cause faster baking and faster hardening, while lower tem               sition components (e.g., producing metals, oxides, nitrides,
peratures can cause slower baking and correspondingly                   poly, oxynitrides or insulators) can be controlled to achieve
slower hardening. The rate and uniformity of photoresist                desired critical dimensions and mitigate overlay. Such films
hardening can affect critical dimensions and overlay, Such              can be formed through thermal oxidation and nitridation of
as, for example, by altering the consistency of a line width.      60   single crystal silicon and polysilicon, the formation of
Accordingly, time and temperature parameters can be con                 silicides by direct reaction of a deposited metal and the
trolled during post exposure baking to affect critical dimen            Substrate, chemical vapor deposition (CVD), physical vapor
sions and overlay.                                                      deposition (PVD), low pressure CVD (LPCVD), plasma
   Operating parameters of an etching stage can similarly be            enhanced CVD (PECVD), rapid thermal CVD (RTCVD),
controlled to achieve desired critical dimensions and to           65   metal organic chemical vapor deposition (MOCVD) and
mitigate overlay. After illumination, the pattern image is              pulsed laser deposition (PLD). The rates of flow, tempera
transferred into the wafer from the photoresist coating in an           ture, pressures, concentrations and species of materials
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Supplied during the semiconductor fabrication process can              oriented in any suitable direction(s) to obtain desired mea
thus be controlled to govern film formation which bears on             Surements. Also, the gratings can be located between pro
critical dimensions and overlay.                                       duction regions 312 of the Substrate so as to maximize real
   Scatterometry or scanning electron microscope (SEM)                 estate associated with the device being manufactured. The
techniques can be employed in accordance with one or more              particular gratings depicted in FIG. 3 include a series of
aspects of the present invention to concurrently measure               elongated marks, which can be implemented as raised por
critical dimensions and overlay at different points in an IC           tions in the Substrate or as troughs, such as etched into the
fabrication process to determine what effect, if any, the              Substrate. It is to be appreciated that more complex (e.g.,
various processing components are having on the fabrication            nonlinear) grating patterns and/or Substrate features (e.g.,
process. Different grating and/or feature heights and/or          10   lines, connectors, etc) could also be utilized in accordance
depths may, for example, be measured to generate different             with one or more aspects of the present invention.
signatures that may be indicative of the effect that one or              FIG. 4 illustrates a cross sectional side view of a structure
more processing components are having upon the fabrica                 400 according to one or more aspects of the present inven
tion process and which operating parameters of which                   tion that facilitates concurrent measurement of critical
processing components, if any, should thus be adjusted to         15   dimensions and overlay with a scanning electron microscope
rectify any undesirable processing. The processing compo               (SEM). The structure can be formed on a portion (e.g., a die)
nents and/or operating parameters thereof can be controlled            of a wafer undergoing an IC fabrication process. By way of
based upon feedback/feed forward information generated                 example and not limitation, one specific application for Such
from the measurements. For example, at a first point in time           a structure can be in an implant layer of a flash memory
a first signature may be generated that indicates that desired         product. One or more gratings 402 are formed in a polysili
critical dimensions have not yet been achieved but are                 con layer 404 of the structure while one or more features 406
developing within acceptable tolerances, but that an overlay           are formed within a resist layer 408 of the structure. Both the
error is occurring. Thus, the process may be adapted in an             resist 408 and polysilicon 404 layers are formed over other
attempt to mitigate overlay error, but not affect developing           underlying layers 410. The structure 400, and more particu
critical dimensions. Then, at a second point in time a second     25   larly the features 406 in the resist layer 408, can be inter
signature may be generated that indicates that an overlay              rogated by an SEM system to reveal critical dimensions,
error is no longer occurring, but that the desired critical            Such as line widths 412 and spacings 414 there-between.
dimensions still have not been achieved. Thus, the process             Similarly, overlay can be ascertained by finding the differ
may be allowed to continue until a later point in time when            ence between first 416 and second 418 SEM interrogated
a corresponding signature indicates that the desired critical     30   measurements of underlying gratings 402. It will be appre
dimensions have been achieved without overlay error.                   ciated that such a differencing function can be implemented
   Turning to FIG. 2, a cross sectional side view of a                 by a simple software component. It will be further appreci
combined structure 200 in accordance with one or more                  ated that the structure 400 can be formed at any suitable
aspects of the present invention is illustrated. The structure         location on a wafer to obtain desired measurements.
200 facilitates concurrent measurement of critical dimen          35     FIG. 5 depicts a top view of a structure 500, such as that
sions and overlay with a scatterometry system and can be               illustrated in FIG. 4. The structure 500 can be formed within
formed on a portion (e.g., a die) of a wafer matriculating             a portion (e.g., a die) of a wafer and can be utilized for
through an IC fabrication process, for example. The struc              example, to concurrently measure critical dimensions and
ture includes one or more underlying gratings 202 that                 overlay in an implant layer in a flash memory product. The
facilitate overlay 204 measurements and alignment with            40   structure includes features 502 formed in a resist layer and
other layers and one or more overlying gratings 206 that               gratings 504 formed under the resist layer in a polysilicon
facilitate critical dimension 208 measurements. It is to be            layer. Other layers (not shown) underlie both the resist and
appreciated that the overlying gratings 206 can be printed at          polysilicon layers. An SEM system can interrogate the
any location on the wafer where it is desired to monitor               features 502 in the resist layer to ascertain critical dimen
critical dimensions. Measurements can thus be taken at more       45   sions, such as line widths 506 and spaces 508 there-between.
appropriate circuit locations, such as at a core memory array,         Overlay (and/or overlay error) can be determined by differ
for example, as opposed to test structures in scribe lines.            encing SEM measurements of first 510 and second 512
Measuring critical dimensions and overlay in a single opera            grating portions that project out from under features formed
tion with a single tool (e.g., by scatterometry) mitigates             in the resist layer.
fabrication duration and spacing requirements. This allows        50     FIG. 6 illustrates an alternative structure 600 for concur
efficiency to be increased without sacrificing quality control.        rently measuring critical dimensions and overlay with an
   FIG. 3 illustrates a top view of a substrate 300 (e.g., a           SEM system in accordance with one or more aspects of the
wafer) and an enlargement 302 of overlying gratings 304                present invention. The structure can be formed on a portion
formed on a portion 306 (e.g., a die) of the wafer in                  (e.g., a die) of a wafer undergoing an IC fabrication process.
accordance with one or more aspects of the present inven          55   Overlay, including overlay error, can be determined by
tion. The gratings can, for example, correspond to the                 interrogating features on the wafer with an SEM system and
overlying gratings depicted in FIG. 2 which, along with the            finding differences in spacings between the features. For
underlying gratings shown in FIG. 2, facilitate concurrent             instance, respective values of two different spacing mea
measurement of critical dimensions and overlay with a                  surements 602, 604 can periodically be obtained and sub
scatterometry system. It is to be appreciated that no under       60   tracted from one another throughout the fabrication process
lying gratings are depicted in FIG. 3 for purposes of sim              to determine if an overlay error is occurring. Critical dimen
plicity. In the example shown, the overlying gratings 304 are          sions 606 can be monitoring with an SEM system by
formed both horizontally 308 and vertically 310 on the                 interrogating gratings/features 608 printed within top or
wafer. The vertical gratings 310 facilitate measuring overlay          upper layers 610 of the wafer.
in an X-direction while the horizontal gratings 308 facilitate    65      FIG. 7 illustrates a portion of a system 700 being
measuring overlay in a Y-direction with a single scatterom             employed to monitor (e.g., via scatterometry) a wafer 702
etry system. It will be appreciated that such gratings can be          matriculating through a semiconductor fabrication process
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according to one or more aspects of the present invention. It         sions and overlay. The reflected light 814 may, for example,
will be appreciated that only a small portion of the wafer 702        be processed to generate signatures, which can be utilized to
is depicted in FIG. 7 for purposes of simplicity. The wafer           facilitate feedback and/or feed-forward control of one or
702 has a structure 704 formed thereon according to one or            more fabrication components 820 and/or operating param
more aspects of the present invention. The structure includes         eters associated therewith as described herein to achieve
one or more underlying gratings 706 that facilitate overlay           desired critical dimensions and to mitigate overlay error.
measurements and alignment with other layers and one or                  The measurement system 818 includes a scatterometry
more overlying gratings 708 that facilitate critical dimension        system 822, which can be any scatterometry system Suitable
measurements. The structure allows these measurements to              for carrying out aspects of the present invention as described
be taken concurrently with a single measuring tool, thus         10   herein. A source of light 824 (e.g., a laser, broadband
mitigating fabrication equipment, time and spacing require            radiation in the visible and near ultraviolet range, arc lamp,
ments while improving feature accuracy and chip quality               or a similar device) provides light to the one or more light
control.                                                              sources 810 via the measurement system 818. Preferably, the
   A light source 710 provides light to one or more light             light source 824 is a frequency stabilized laser, however, it
emitters 712 that direct a light 714 incident to the upper 708   15   will be appreciated that any laser (e.g., laser diode or helium
and lower 706 gratings. The light 714 is reflected from the           neon (HeNe) gas laser) or other light source suitable for
gratings as reflected light 716. The incident light 714 may be        carrying out the present invention may be employed. Simi
referred to as the reference beam, and thus the phase,                larly, any one or more light detecting components 816
intensity and/or polarization of the reference beam 714 may           Suitable for carrying out aspects of the present invention
be recorded in a measurement system 718 to facilitate later           may be employed (e.g., photo detector, photo diodes) for
comparisons to the reflected beam 716 (e.g., via signature            collecting reflected light.
comparison). The angle of the reflected light 716 from the               A processor 826 receives the measured data from the
gratings 706, 708 will vary in accordance with the evolving           measurement system 818 and is programmed to control and
dimensions of the gratings and/or with the evolving dimen             operate the various components within the system 800 in
sions of one or more patterns being developed in the wafer       25   order to carry out the various functions described herein.
702. Similarly, the intensity, phase and polarization proper          The processor, or CPU 826, may be any of a plurality of
ties of the specularly reflected light 716 may vary in accor          processors, and the manner in which the processor 826 can
dance with the evolving dimensions. One or more light                 be programmed to carry out the functions described herein
detecting components 720 collect the reflected light 716 and          will be readily apparent to those having ordinary skill in the
transmit the collected light, and/or data associated with the    30   art based on the description provided herein.
collected light, to the measurement system 718. The mea                  The processor 826 is also coupled to a fabrication com
surement system forwards this information to a processor              ponent driving system 828 that drives the fabrication com
722, which may or may not be integral with the measure                ponents 820. The processor 826 controls the fabrication
ment system 718. The processor 722, or central processing             component driving system 828 to selectively control one or
unit (CPU), is programmed to control and carry out the           35   more of the fabrication components 820 and/or one or more
various functions described herein. The processor 722 may             operating parameters associated therewith as described
be any of a plurality of processors, and the manner in which          herein. The processor 826 monitors the process via the
the processor can be programmed to carry out the functions            signatures generated by the reflected and/or diffracted light,
described herein will be readily apparent to those having             and selectively regulates the fabrication process by control
ordinary skill in the art based on the description provided      40   ling the corresponding fabrication components 820. Such
herein. The reflected light 716 can, for example, be analyzed         regulation enables controlling critical dimensions and over
to generate one or more signatures that can be compared to            lay error during fabrication and further facilitates initiating
one or more stored signatures to determine whether, for               a Subsequent fabrication phase with more precise initial
example, desired critical dimensions are being achieved               data, which facilitates improved chip quality at higher
and/or whether overlay error is occurring and thus whether,      45   packing densities.
for example, feed forward and/or backward information                    Though not shown in FIG. 8, it should be appreciated that
should be generated and applied to selectively control and            the fabrication components 820 may be separate and inde
adjust one or more operating parameters of one or more IC             pendent from the measurement system 818 (e.g., SEM,
fabrication components (e.g., alignment, post exposure bak            scatterometry system 822). For example, the measurement
ing, development, photolithography, etching, polishing,          50   system 818 may be linked and/or networked to the fabrica
deposition) to achieve a desired result.                              tion components 820 (e.g., an etcher tool) via a computer
   Turning to FIG. 8, a system 800 for monitoring and                 network (not shown). Measurements taken from the mea
controlling a semiconductor fabrication process according to          surement system 818 may be communicated via the network
one or more aspects of the present invention is illustrated. A        to the etcher tool in order to adjust times, concentrations, and
wafer 802, or a portion thereof, is depicted as undergoing the   55   the like. Moreover, the fabrication components 820 and the
fabrication process and has a structure 804 formed thereon            measurement system 818 may be in the system 800 but
according to one or more aspects of the present invention.            either integrated on the same tool or as separate tools,
The structure facilitates concurrent measurement with scat            depending on the application and as desired by a user.
terometry techniques of overlay and critical dimensions via              A memory 830 is also shown in the example illustrated in
one or more underlying gratings 806 and one or more              60   FIG. 8. The memory 830 is operable to store, among other
overlying gratings 808, respectively.                                 things, program code executed by the processor 826 for
   One or more light sources 810 project light 812 onto               carrying out one or more of the functions described herein.
respective portions of the structure 804, which cause the             The memory may include, for example, read only memory
light to be reflected in different, quantifiable manners.             (ROM) and random access memory (RAM). The RAM is
Reflected light 814 is collected by one or more light detect     65   the main memory into which the operating system and
ing components 816, and processed by a measurement                    application programs are loaded. The memory 830 may also
system 818 for a concurrent determination of critical dimen           serve as a storage medium for temporarily storing informa
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tion and data that may be useful in carrying out one or more           of electron signals 924 include backscattered electrons,
aspects of the present invention. For mass data storage, the           reflected electrons, secondary electrons, X-rays, current, and
memory 830 may also include a hard disk drive (e.g., 50                the like.
Gigabyte hard drive).                                                     The detection system 928 can digitize the signal from the
   A power supply 832 is included to provide operating                 detector 926 and/or provide filtering or other signal process
power to one or more components of the system 800. Any                 ing to the information. The detection system 928 forwards
suitable power supply 832 (e.g., battery, line power) can be           this information to a processor 930, which may or may not
employed to carry out the present invention.                           be integral with the detection system 928. The processor
   A training system 834 may also be included. The training            930, or central processing unit (CPU), is programmed to
system 834 may be adapted to populate a data store 836            10   control and carry out the various functions described herein.
(which may be comprised within the memory 830) for use                 The processor 930 may be any of a plurality of processors,
in Subsequent monitoring. For example, the scatterometry               and the manner in which the processor 930 can be pro
system 822 can generate Substantially unique scatterometry             grammed to carry out the functions described herein will be
signatures that can be stored in the data store 836 via the            readily apparent to those having ordinary skill in the art
training system 834. The data store 836 can be populated          15   based on the description provided herein.
with an abundance of scatterometry signatures by examining                For example, the processor 930 may control the beam
a series of wafers and/or wafer dies. Scatterometry signa              generating system 922 and perform signal analysis. The
tures can be compared to scatterometry measurements stored             electron signals 924 can be analyzed to generate one or more
in the data store 836 to generate feed forward/backward                signatures that can be compared to one or more stored
control data that can be employed to control the fabrication           signatures to determine whether, for example, desired criti
process. It is to be appreciated that the data store 836 can           cal dimensions are being achieved and/or whether overlay
store data in data structures including, but not limited to one        error is occurring and thus whether, for example, feed
or more lists, arrays, tables, databases, stacks, heaps, linked        forward and/or backward information should be generated
lists and data cubes. Furthermore the data store 836 can               and applied to selectively control and adjust one or more
reside on one physical device and/or may be distributed           25   operating parameters of one or more IC fabrication compo
between two or more physical devices (e.g., disk drives, tape          nents (e.g., alignment, post exposure baking, development,
drives, memory units).                                                 photolithography, etching, polishing, deposition) to achieve
   FIG. 9 illustrates a portion of a system 900 being                  a desired result.
employed to monitor (e.g., via SEM) the development of a                 Alternatively or in addition, the electron signals 924 may
wafer 902 undergoing a semiconductor fabrication process.         30   be analyzed directly by an algorithm in order to obtain a
It will be appreciated that only a small portion of the wafer          measurement. Thus, generating a signature may be optional
is depicted in FIG. 9 for purposes of simplicity. The wafer            depending on the application and as desired by a user.
902 has a structure 904 formed thereon according to one or             Likewise, comparing a generated signature to a signature
more aspects of the present invention. By way of example               database and/or maintaining a signature database may also
and not limitation, one specific application for Such a           35   be optional according to the user's preferences.
structure can be in an implant layer of a flash memory                   It will be appreciated that relative movement between the
product. One or more gratings 906 are formed in a polysili             beam 916 and the wafer 902 can be controlled to facilitate
con layer 908 of the structure while one or more features 910          obtaining desired measurements. The electron beam 916
are formed within a resist layer 912 of the structure 904. The         can, for example, Scan from point to point in a rectangular
structure 904, and more particularly the features 910 in the      40   raster pattern to facilitate measurement of the width of a
resist layer 912, can be interrogated by an SEM system to              conductor, for example. Accelerating voltage, beam current
reveal critical dimensions, such as line widths and spacings           and spot diameter can also be controlled to achieve desired
there-between. Similarly, overlay and overlay error, in par            measurementS.
ticular, can be ascertained by finding the difference between             Turning to FIG. 10, a system 1000 for monitoring and
first and second SEM interrogated measurements of under           45   controlling a semiconductor fabrication process according to
lying gratings that jut out from under the features. The               one or more aspects of the present invention is illustrated. A
structure 904 allows these measurements to be taken con                wafer 1002 or a portion thereof depicted as undergoing the
currently with a single measuring tool, thus mitigating                fabrication process has a structure 1004 formed thereon
fabrication equipment, time and spacing requirements while             according to one or more aspects of the present invention.
improving precision and quality control.                          50   The structure 1004 facilitates concurrent measurement of
  The wafer 902 is housed within a chamber 914 and is                  overlay and critical dimensions with SEM techniques. The
interrogated by an electron beam 916 protected from an                 structure can, for example, be in an implant layer of a flash
electromagnetic lens 918. The electron beam 916 is created             memory product. One or more gratings 1006 are formed in
from high voltage supplied by a power supply 920 associ                a polysilicon layer 1008 of the structure 1004 while one or
ated with a beam generating system 922 which includes an          55   more features 1010 are formed within a resist layer 1012 of
emission element 924. Various directing, focusing, and                 the structure 1004. The structure 1004, and more particularly
scanning elements (not shown) in the beam generating                   the features 1010 in the resist layer 1012, can be interrogated
system 922 guide the electron beam 916 from the emission               by an SEM system to reveal critical dimensions, such as line
element (924) to the electromagnetic lens 918. The electron            widths and spacings there-between. Similarly, overlay and/
beam particles can be accelerated to energies from about 500      60   or overlay error can be ascertained by finding the difference
eV to 40 Kev which can yield, for example, resolutions from            between first and second SEM interrogated measurements of
about 30 to about 40 Angstroms. When the electron beam                 underlying gratings that extend out from under the features
916 strikes a Surface, electrons and X-rays, for example, are          1010.
emitted 924, are detected by a detector 926, and are provided             The wafer 1002 is interrogated by an electron beam 1014
to a detection system 928. The most useful electron signals       65   projected onto respective portions of the structure. The
924 are low energy secondary electrons that provide a                  electron beam 1014 is part of an SEM system 1016, at least
substantial amount of current to the detector 926. Examples            part of which may be integral with a measurement system
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1018. The electron beam 1014 is created from high voltage             1016 can generate Substantially unique signatures that can
in a beam generating system 1020 of the SEM which                     be stored in the data store 1042 via the training system 1040.
includes an emission element 1022. Various directing, focus           The data store 1042 can be populated with an abundance of
ing, and scanning elements (not shown) in the beam gener              SEM signatures by examining a series of wafers and/or
ating system 1020 guide the electron beam 1014 from the               wafer dies. SEM signatures can be compared to SEM
emission element 1022 to an electromagnetic lens 1024.                measurements stored in the data store 1042 to generate feed
When the electron beam 1014 strikes the structure 1004,               forward/backward control data that can be employed to
electrons and X-rays, for example, are emitted 1026 and are           control the fabrication process. It is to be appreciated that the
detected by one or more detectors 1028 and are provided to            data store 1042 can store data in data structures including,
the measurement system 1018 for a concurrent determina           10   but not limited to one or more lists, arrays, tables, databases,
tion of critical dimensions and overlay. The detected elec            stacks, heaps, linked lists and data cubes. Furthermore, the
trons may be processed to generate signatures, which can be           data store 1042 can reside on one physical device and/or
utilized to facilitate feedback and/or feed-forward control of        may be distributed between two or more physical devices
one or more fabrication components 1030 and/or operating              (e.g., disk drives, tape drives, memory units).
parameters associated therewith as described herein to           15      Turning now to FIGS. 11–13, in accordance with one or
achieve desired critical dimensions and to mitigate overlay           more aspects of the present invention, a wafer 1102 (or one
eO.                                                                   or more die located thereon) situated on a stage 1104 may be
   Alternatively, the detected electrons may be automatically         logically partitioned into grid blocks to facilitate concurrent
and directly analyzed by any number of algorithms to yield            measurements of critical dimensions and overlay as the
measurements without comparison or reference to stored                wafer matriculates through a semiconductor fabrication pro
signatures. Thus, processing time may be increased as well            cess. This may facilitate selectively determining to what
as the overall efficiency of the system 1000.                         extent, if any, fabrication adjustments are necessary. Obtain
   A processor 1032 receives the measured data from the               ing Such information may also assist in determining problem
measurement system 1018 and is programmed to control and              areas associated with fabrication processes.
operate the various components within the system 1000 in         25      FIG. 11 illustrates a perspective view of a steppable stage
order to carry out the various functions described herein.            1104 supporting a wafer 1102. The wafer 102 may be
The processor, or CPU 1032, may be any of a plurality of              divided into a grid pattern as shown in FIG. 12.
processors, and the manner in which the processor 1032 can               Each grid block (XY) of the grid pattern corresponds to a
be programmed to carry out the functions described herein             particular portion of the wafer 1102 (e.g., a die or a portion
will be readily apparent to those having ordinary skill in the   30   of a die). The grid blocks are individually monitored for
art based on the description provided herein.                         fabrication progress by concurrently measuring critical
   The processor 1032 is also coupled to a fabrication                dimensions and overlay with either scatterometry or scan
component driving system 1034 that drives the fabrication             ning electron microscope (SEM) techniques.
components 1030. The processor 1032 controls the fabrica                 This may also be applicable in order to assess wafer-to
tion component driving system 1034 to selectively control        35   wafer and lot-to-lot variations. For example, a portion P (not
one or more of the fabrication components 1030 and/or one             shown) of a first wafer (not shown) may be compared to the
or more operating parameters associated therewith as                  corresponding portion P (not shown) of a second wafer.
described herein. The processor 1032 monitors the process             Thus, deviations between wafers and lots may be deter
via the optional signatures generated by the detected elec            mined in order to calculate adjustments to the fabrication
trons, and selectively regulates the fabrication process by      40   components which are necessary to accommodate for the
controlling the corresponding fabrication components 1030.            wafer-to-wafer and/or lot-to-lot variations.
Such regulation enables controlling critical dimensions and              In FIG. 12, one or more respective portions of a wafer
overlay (e.g., overlay error) during fabrication and further          1102 (XY . . . X, Y) are concurrently monitored for
facilitates initiating a Subsequent fabrication phase with            critical dimensions and overlay utilizing either scatterom
more precise initial data, which facilitates improved chip       45   etry or Scanning electron microscope techniques. Exemplary
quality at higher packing densities.                                  measurements produced during fabrication for each grid
   A memory 1036 is also shown in the example illustrated             block are illustrated as respective plots. The plots can, for
in FIG. 10. The memory 1036 is operable to store, among               example, be composite valuations of signatures of critical
other things, program code executed by the processor 1032             dimensions and overlay. Alternatively, critical dimensions
for carrying out one or more of the functions described          50   and overlay values may be compared separately to their
herein. The memory 1036 may include, for example, read                respective tolerance limits.
only memory (ROM) and random access memory (RAM).                        As can be seen, the measurement at coordinate X,Y,
The RAM is the main memory into which the operating                   yields a plot that is Substantially higher than the measure
system and application programs are loaded. The memory                ment of the other portions XY. This can be indicative of
1036 may also serve as a storage medium for temporarily          55   overlay, overlay error, and/or one or more critical dimension
storing information and data that may be useful in carrying           outside of acceptable tolerances. As such, fabrication com
out one or more aspects of the present invention. For mass            ponents and/or operating parameters associated therewith
data storage, the memory 1036 may also include a hard disk            can be adjusted accordingly to mitigate repetition of this
drive (e.g., 50 Gigabyte hard drive).                                 aberrational measurement. It is to be appreciated that the
   A power supply 1038 is included to provide operating          60   wafer 1102 and or one or more die located thereon may be
power to one or more components of the system 1000. Any               mapped into any suitable number and/or arrangement of grid
suitable power supply 1038 (e.g., battery, line power) can be         blocks to effect desired monitoring and control.
employed to carry out the present invention.                             FIG. 13 is a representative table of concurrently measured
   A training system 1040 may also be included. The training          critical dimensions and overlay taken at various portions of
system 1040 may be adapted to populate a data store 1042         65   the wafer 1102 mapped to respective grid blocks. The
(which may be comprised within the memory 1036 for use                measurements in the table can, for example, be amalgams of
in Subsequent monitoring. For example, the SEM system                 respective critical dimension and overlay signatures. As can
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be seen, all the grid blocks, except grid block X,Y, have                At 1410, a determination is made as to whether measure
measurement values corresponding to an acceptable value                ments have been taken at all (or a sufficient number) of grid
(V) (e.g., no overlay error is indicated and/or overlay                mapped locations. If the determination at 1410 is NO, then
measurements and critical dimensions are within acceptable             processing returns to 1408 So that additional measurements
tolerances), while grid block X,Y has an undesired value          5    can be made. If the determination at 1400 is YES, then at
(V) (e.g., overlay and critical dimensions are not within              1412 the measurements are compared to acceptable values
acceptable tolerances, thus at least an overlay or CD error            to determine if an overlay error is occurring and/or if critical
exists). Thus, it has been determined that an undesirable              dimensions are within acceptable tolerances.
fabrication condition exists at the portion of the wafer 1102             By way of example, measurements of critical dimensions
mapped by grid block X,Y. Accordingly, fabrication pro            10   and overlay can be analyzed to produce signatures. These
cess components and parameters may be adjusted as                      signatures can then be compared to acceptable signature
described herein to adapt the fabrication process accordingly          values for critical dimensions and overlay at the grid
to mitigate the re-occurrence or exaggeration of this unac             mapped locations. Additionally, respective critical dimen
ceptable condition.                                                    sion and overlay signatures can be aggregated for the
   Alternatively, a sufficient number of grid blocks may have     15   respective grid mapped locations to produce a single value
desirable thickness measurements so that the single offen              for comparison to an acceptable value for the grid mapped
sive grid block does not warrant Scrapping the entire wafer.           locations. At 1414, a determination is made as to whether an
It is to be appreciated that fabrication process parameters            undesired value (V) has been encountered (e.g., indicating
may be adapted so as to maintain, increase, decrease and/or            that an overlay error is occurring and/or that one or more
qualitatively change the fabrication of the respective por             critical dimensions are outside of acceptable tolerances).
tions of the wafer 1102 as desired. For example, when the                 If the determination at 1414 is NO, then at 1416 process
fabrication process has reached a predetermined threshold              ing continues as normal. The methodology can then advance
level (e.g., X % of grid blocks have acceptable CDs and no             to 1418 and end. If, however, the determination at 1414 is
overlay error exists), a fabrication step may be terminated.           YES, meaning that an undesired value was encountered,
   In view of the exemplary systems shown and described           25   then at 1420, one or more fabrications components and/or
above, a methodology, which may be implemented in accor                operating parameters associated therewith can be adjusted as
dance with one or more aspects of the present invention, will          described herein according to feed forward control data
be better appreciated with reference to the flow diagram of            derived from the measurements to mitigate or remedy the
FIG. 14. While, for purposes of simplicity of explanation,             situation. For example, an exposing source can be turned off
the methodology is shown and described as a series of             30   and/or data generated by Sophisticated modeling techniques
function blocks, it is to be understood and appreciated that           can be fed forward to post exposure baking and/or devel
the present invention is not limited by the order of the               opment stages to control processing parameters such as bake
blocks, as some blocks may, in accordance with the present             time and/or temperature to bring critical dimensions back to
invention, occur in different orders and/or concurrently with          within acceptable tolerances and/or to mitigate overlay error.
other blocks from that shown and described herein. More           35     At 1422, control data derived from the measurements can
over, not all illustrated blocks may be required to implement          also be feedback to adjust one or more fabrications com
a methodology in accordance with one or more aspects of                ponents and/or operating parameters associated therewith to
the present invention. It is to be appreciated that the various        mitigate reoccurrence of the undesired event during Subse
blocks may be implemented via Software, hardware a com                 quent processing. For instance, stepped alignment of the
bination thereof or any other Suitable means (e.g., device,       40   wafer can be adjusted to facilitate proper placement of a line
system, process, component) for carrying out the function              on Subsequently processed dies. Similarly, exposure time
ality associated with the blocks. It is also to be appreciated         and/or intensity can be controlled so that a line having a
that the blocks are merely to illustrate certain aspects of the        proper width is formed within a photoresist layer. The
present invention in a simplified form and that these aspects          methodology then ends at 1418. As mentioned above, events
may be illustrated via a lesser and/or greater number of          45   can occur in orders different from that depicted in FIG. 14.
blocks.                                                                For example, measurements taken, as at 1406, can be
   FIG. 14 is flow diagram illustrating a methodology 1400             compared to acceptable values, as at 1412, prior to deter
for monitoring and controlling an IC fabrication process               mining whether measurements have been taken at all grid
according to one or more aspects of the present invention.             mapped locations, as at 1410.
The methodology begins at 1402 wherein general initializa         50      FIG. 15 illustrates an exemplary scatterometry system
tions are performed. Such initializations can include, but are         suitable for implementation with one or more aspects of the
not limited to, establishing pointers, allocating memory,              present invention. Light from a laser 1502 is brought to
setting variables, establishing communication channels and/            focus in any suitable manner to form a beam 1504. A sample,
or instantiating one or more objects. At 1404, a grid map              such as a wafer 1506, is placed in the path of the beam 1504
comprising one or more grid blocks “XY is generated. Such         55   and a photo detector or photo multiplier 1508 of any suitable
grid blocks may correspond to dies on the wafer and or to              construction. Different detector methods and arrangements
portions of one or more die on a wafer, for example.                   may be employed to determine the scattered and/or reflected
  At 1406, a structure such as that described herein is                power. A microprocessor 1510, of any Suitable design, may
formed at respective grid mapped locations on the wafer to             be used to process detector readouts, including, but not
facilitate concurrent measurement of critical dimensions and      60   limited to, intensity properties of the specularly reflected
overlay with either scatterometry or scanning electron                 light, polarization properties of the specularly reflected light,
microscope (SEM) techniques at the grid mapped locations.              and angular locations of different diffracted orders. Thus,
At 1408, as the wafer matriculates through the fabrication             light reflected from the sample 1506 may be accurately
process, overlay and critical dimensions, such as depth,               measured.
width, height, slope, and the like, are concurrently measured     65      Concepts of scatterometry and how they are employed in
with either scatterometry or SEM at the grid mapped loca               accordance with one or more aspects of the present inven
tions via the structure formed at the respective locations.            tion are discussed with respect to FIGS. 16–21. Scatterom
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                               17                                                                     18
etry is a technique for extracting information about a surface          employed to compare measured signals with signatures
upon which an incident light has been directed. Scatterom               stored in a signature library using techniques like pattern
etry is a metrology that relates the geometry of a sample to            matching, for example.
its scattering effects. Scatterometry is based optical diffrac             Referring now to FIG. 17, an incident light 1712 is
tion responses. Scatterometry can be employed to acquire                directed onto a surface 1710 upon which one or more
information concerning properties including, but not limited            depressions 1718 appear. The incident light 1712 is reflected
to, horizontal/vertical alignment/shifting/compression/                 as reflected light 1714. Depressions 1718 will affect the
stretching, dishing, erosion, profile and critical dimensions           scatterometry signature to produce a substantially unique
of a surface and/or features present on a surface. The                  signature. It is to be appreciated that scatterometry can be
information can be extracted by comparing the phase and/or         10   employed to measure, among other things, features appear
intensity of a reference light directed onto the surface with           ing on a Surface, features appearing in a Surface, features
phase and/or intensity signals of a complex reflected and/or            emerging in a pattern.
diffracted light resulting from the incident light reflecting              Turning now to FIG. 18, complex reflections and refrac
from and/or diffracting through the surface upon which the              tions of an incident light 1840 are illustrated. The reflection
incident light was directed. The intensity and/or the phase of     15   and refraction of the incident light 1840 can be affected by
the reflected and/or diffracted light will change based on              factors including, but not limited to, the presence of one or
properties of the surface upon which the light is directed.             more features 1828 and the composition of the substrate
Such properties include, but are not limited to, the planarity          1820 upon which the features 1828 reside. For example,
of the Surface, features on the Surface, Voids in the Surface,          properties of the substrate 1820 including, but not limited to
the number and/or type of layers beneath the surface.                   the thickness of a layer 1822, the chemical properties of the
                                                                        layer 1822, the opacity and/or reflectivity of the layer 1822,
   Different combinations of the above-mentioned properties             the thickness of a layer 1824, the chemical properties of the
will have different effects on the phase and/or intensity of the        layer 1824, the opacity and/or reflectivity of the layer 1824,
incident light resulting in Substantially unique intensity/             the thickness of a layer 1826, the chemical properties of the
phase signatures in the complex reflected and/or diffracted        25   layer 1826, and the opacity and/or reflectivity of the layer
light. Thus, by examining a signal (signature or stored value)          1826 can affect the reflection and/or refraction of the inci
library of intensity/phase signatures, a determination can be           dent light 1840. Thus, a complex reflected and/or refracted
made concerning the properties of the Surface. Such Sub                 light 1842 may result from the incident light 1840 interact
stantially unique intensity/phase signatures are produced by            ing with the features 1828, and/or the layers 1822, 1824 and
light reflected from and/or refracted by different surfaces        30   1826. Although three layers 1822, 1824 and 1826 are
due, at least in part, to the complex index of refraction of the        illustrated in FIG. 18, it is to be appreciated that a substrate
surface onto which the light is directed. The complex index             can be formed of a greater or lesser number of such layers.
of refraction (N) can be computed by examining the index                   Turning now to FIG. 19, one of the properties from FIG.
of refraction (n) of the surface and an extinction coefficient          18 is illustrated in greater detail. The substrate 1920 can be
(k). One Such computation of the complex index of refrac           35   formed of one or more layers 1922, 1924 and 1926. The
tion can be described by the equation:                                  phase 1950 of the reflected and/or refracted light 1942 from
        N=n-ik, wherei is an imaginary number.                          incident light 1940 can depend, at least in part, on the
                                                                        thickness of a layer, for example, the layer 1924. Thus, in
   The signal (signature) library can be constructed from               FIG. 20, the phase 2052 of the reflected light 2042 differs
observed intensity/phase signatures and/or signatures gen          40   from the phase 1950 due, at least in part, to the different
erated by modeling and simulation. By way of illustration,              thickness of the layer 2024 in FIG. 20.
when exposed to a first incident light of known intensity,                 Thus, Scatterometry is a technique that can be employed
wavelength and phase, a wafer can generate a first intensity/           to extract information about a Surface upon which an inci
phase signature. Observed signatures can be combined with               dent light has been directed. The information can be
simulated and modeled signatures to form a signal (signa           45   extracted by analyzing phase and/or intensity signals of a
ture) library. Simulation and modeling can be employed to               complex reflected and/or diffracted light. The intensity and/
produce signatures against which measured intensity/phase               or the phase of the reflected and/or diffracted light will
signatures can be matched. In one exemplary aspect of the               change based on properties of the Surface upon which the
present invention, simulation, modeling and observed sig                light is directed, resulting in Substantially unique signatures
natures are stored in a signal (signature) data store. Thus,       50   that can be analyzed to determine one or more properties of
when intensity/phase signals are received from scatterom                the surface upon which the incident light was directed.
etry detecting components, the intensity/phase signals can                 Using scatterometry in implementing one or more aspects
be pattern matched, for example, to the library of signals to           of the present invention facilitates a relatively non-invasive
determine whether the signals correspond to a stored signa              approach to measuring opaque film thickness and other
ture.                                                              55   properties (e.g., CD, overlay, profile, etc.) and to reproduc
   To illustrate the principles described above, reference is           ing Successful fabrication processes in Subsequent develop
now made to FIGS. 16 through 21. Referring initially to                 ment cycles.
FIG. 16, an incident light 1602 is directed at a surface 1600,             Described above are preferred embodiments of the
upon which one or more features 1606 may exist. The                     present invention. It is, of course, not possible to describe
incident light 1602 is reflected as reflected light 1604. The      60   every conceivable combination of components or method
properties of the surface 16, including but not limited to,             ologies for purposes of describing the present invention, but
thickness, uniformity, planarity, chemical composition and              one of ordinary skill in the art will recognize that many
the presence of features, can affect the reflected light 1604.          further combinations and permutations of the present inven
The features 1606 are raised upon the surface 1600, but                 tion are possible. Accordingly, the present invention is
could also be recessed therein. The phase and/or intensity of      65   intended to embrace all such alterations, modifications and
the reflected light 1604 can be measured and plotted, as                variations that fall within the spirit and scope of the
partially shown, for example, in FIG. 21. Such plots can be             appended claims.
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                             19                                                                     20
  What is claimed is:                                                  whether one or more critical dimensions fall outside of
   1. A system that monitors and controls a semiconductor              acceptable tolerances and/or whether overlay error is occur
fabrication process comprising:                                        ring.
   a structure formed on at least a portion of a wafer                    12. The system of claim 10 wherein the emitted light can
      matriculating through the fabrication process that               be analyzed by an algorithm to obtain a measurement in
     facilitates concurrent measurement of one or more                 order to determine whether one or more critical dimensions
     critical dimensions and overlay,                                  fall outside of acceptable tolerances and/or whether overlay
  a measurement system that concurrently measures one or               error is occurring.
     more critical dimensions and overlay by mapping the                  13. The system of claim 1 wherein the control system
    wafer into one or more grids that comprises one or            10   controls at least one of alignment, exposure, post exposure
     more locations on which a grating structure is formed;            baking, development, photolithography, etching, polishing,
     and                                                               deposition, exposure time, exposure intensity, exposure
  a control system operatively coupled to the measurement              magnification, exposure de-magnification, movement via a
     system and one or more fabrication components to                  stepper motor, temperatures associated with the process,
     selectively control one or more of the fabrication           15   pressures associated with the process, concentration of gases
     components or operating parameters of the fabrication             applied to the process, concentration of chemicals applied to
     components to mitigate overlay error and to bring                 the process, flow rates of gases applied to the process, flow
     critical dimensions within acceptable tolerances based            rates of chemicals applied to the process, excitation Voltages
     upon one or more of the concurrent measurements                   associated with the process, illumination time, illumination
     taken by the measurement system.                                  intensity, concentration of slurry applied during CMP rate of
  2. The system of claim 1 wherein the structure, to facili            flow of slurry applied during CMP. degree of abrasiveness of
tate concurrent measurement of one or more critical dimen              slurry applied during CMP pressure applied during CMP.
sions and overlay via scatterometry, comprises one or more             baking time, balking temperatures and etchant concentra
underlying gratings that facilitate overlay measurements and           tions.
one or more overlying gratings that facilitate critical dimen     25     14. A system that facilitates concurrent measurement of
sion measurements.                                                     one or more critical dimensions and overlay during a semi
   3. The system of claim 2 wherein the overlying gratings             conductor fabrication process via Scatterometry comprising:
comprise elongated raised portions.                                      one or more underlying gratings formed within an under
   4. The system of claim 2 wherein a first grouping of the                 lying layer of at least a portion of a wafer undergoing
overlying gratings comprises multiple elongated portions          30        the semiconductor fabrication process that facilitates
oriented substantially in parallel with one another to facili               measurement of overlay by analyzing light reflected
tate measuring overlay in a first direction.                                from the gratings;
   5. The system of claim 2 wherein a second grouping of the             one or more overlying gratings formed over the underly
overlying gratings comprises multiple elongated portions                    ing gratings on an overlying layer of at least a portion
substantially in parallel with one another and oriented sub       35        of the wafer that facilitates measurement of one or
stantially perpendicular to the first grouping to facilitate                more critical dimensions by analyzing reflected elec
measuring overlay in a second direction.                                    trons; and
   6. The system of claim 1 wherein the structure, to facili             one or more logical grids mapped to the wafer comprising
tate concurrent measurement of one or more critical dimen                  one or more locations in which the underlying and
sions and overlay via SEM, comprises one or more gratings         40       overlying gratings for use in concurrent measurements
formed in a material layer of the structure and one or more                 is formed.
features formed within a resist layer of the structure, the               15. The system of claim 14 wherein the overlying gratings
material layer comprising at least one of polysilicon, nitride,        comprise elongated raised portions.
and silicon dioxide.                                                      16. The system of claim 14 wherein a first grouping of
   7. The system of claim 6 wherein the SEM can interrogate       45   overlying gratings comprises multiple elongated portions
the features for critical dimensions and portions of the               oriented substantially in parallel with one another to facili
gratings extending from the features for a determination of            tate measuring overlay in a first direction.
at least one of overlay and overlay error.                                17. The system of claim 14 wherein a second grouping of
   8. The system of claim 6 wherein the structure is formed            overlying gratings comprises multiple elongated portions
within an implant layer of a flash memory product.                50   substantially in parallel with one another and oriented sub
   9. The system of claim 6 wherein the measurement system             stantially perpendicular to the first grouping to facilitate
comprises:                                                             measuring overlay in a second direction.
   a beam generating system from which an electron beam is                18. A system that facilitates concurrent measurement of
      generated and projected through an electromagnetic               one or more critical dimensions and overlay error during a
     lens onto the structure; and                                 55   semiconductor fabrication process via a scanning electron
  one or more detectors that detect electrons reflected off of         microscope (SEM) comprising:
    the structure.                                                        one or more features formed in a resist layer of at least a
   10. The system of claim 1 wherein the measurement                        portion of a wafer undergoing the fabrication process
system includes one or more light sources that direct light                 that facilitates measurement of one or more critical
incident to the gratings; and                                     60        dimensions by analyzing electrons from an electron
   one or more light detecting components that collect light                beam directed at and reflected from at least the portion
      emitted from the gratings, the emitted light varying in               of the wafer; and
      at least one of angle, intensity, phase and polarization           one or more gratings formed under the features in a
      as the fabrication process progresses.                               polysilicon layer of at least a portion of the wafer by
   11. The system of claim 10 wherein the emitted light can       65       mapping the wafer into one or more blocks comprising
be analyzed to generate one or more signatures for com                     one or more locations in which the one or more gratings
parison to one or more stored signatures to determine                       for use in the concurrent measurement is formed,
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                               21                                                                   22
     portions of the gratings extending out from tinder the              22. The method of claim 19 wherein SEM is utilized to
     features facilitating a determination of overlay error by         concurrently measure one or more critical dimensions and
     analyzing reflected electrons, the features are formed            overlay, the method further comprising:
     within an implant layer of a flash memory product.                  forming one or more features in a resist layer of at least
  19. A method for monitoring and controlling a semicon                     a portion of the wafer that facilitates measurement of
ductor fabrication process comprising:                                      one or more critical dimensions by analyzing electrons
  providing a plurality of wafers undergoing the fabrication                emitted from an electron beam directed at and reflected
     process;                                                               from at least the portion of the wafer; and
  mapping the plurality of wafers into one or more logical                forming one or more gratings under the features in a
    grids comprising one or more portions in which a              10
                                                                            polysilicon layer of at least a portion of the wafer,
    grating structure for use in concurrent measurements is                 portions of the gratings extending out from under the
     formed;                                                                features facilitating a determination of overlay error by
  concurrently measuring one or more critical dimensions                    analyzing the reflected electrons.
    and overlay in a wafer undergoing the fabrication                     23. A system that monitors and controls a semiconductor
     process;                                                     15
  determining if one or more of the critical dimensions are            fabrication process comprising:
    outside of acceptable tolerances;                                     means for mapping one or more logical grid blocks to at
  determining whether an overlay error is occurring;                        least one wafer;
  developing control databased upon one or more concur                   means for forming at least one grain structure according
    rent measurements when at least one of an overlay error                to the one or more logical grid blocks associated with
    is occurring and one or more of the critical dimensions                at least a portion of the wafer undergoing the fabrica
    fall outside of acceptable tolerances; and                             tion process that facilitates concurrent measurements of
  feeding forward or backward the control data to adjust                   one or more critical dimensions and overlay;
    one or more fabrication components or one or more                    means for directing at least one of light and electrons onto
    operating parameters associated with the fabrication          25        the structure;
    components when at least one of an overlay error is                  means for collecting light reflected from the structure;
    occurring and one or more of the critical dimensions                 means for analyzing the reflected light to determine
    fall outside of acceptable tolerances to mitigate overlay              whether at least one of an overlay error is occurring and
    error and/or to bring critical dimension within accept                 one or more critical dimensions full outside of accept
     able tolerances.                                             30
                                                                            able tolerances; and
  20. The method of claim 19 further comprising:                          means for adjusting one or more fabrication components
  forming at least one grating structure on at least a portion               or one or more operating parameters associated with
     of the wafer that facilitates concurrent measurements of
                                                                             the fabrication components when at least one of overlay
     one or more critical dimensions and overlay using at                    error is occurring and one or more of the critical
     least one of scatterometry and Scanning electron micro       35
                                                                             dimensions fall outside of acceptable tolerances to
     scope (SEM) techniques.                                                 mitigate overlay error and/or to bring critical dimension
   21. The method of claim 19 wherein scatterometry is                       within acceptable tolerances.
utilized to concurrently measure one or more critical dimen               24. The system of claim 23 wherein the concurrent
sions and overlay, the method further comprising:
   forming one or more underlying gratings within an under        40   measurements are performed using at least one of Scatter
     lying layer of at least a portion of the wafer that               ometry and SEM.
     facilitates measurement of overlay by reflecting light               25. The system of claim 23 further comprising means for
     directed incident to the gratings; and                            developing control data based upon one or more of the
   forming one or more overlying gratings over the under               concurrent measurements when at least one of an overlay
     lying gratings on an overlying layer of at least a portion   45   error is occurring and one or more of the critical dimensions
     of the wafer that facilitates measurement of one or               fall outside of acceptable tolerances.
     more critical dimensions by reflecting the incident
     light.
